«i Case 2:05-cr-00184-WFN ECF No. 70 filed 05/06/09 PagelD.257 Page 1 of 6
FILED IN THE

U.8, DIBTRICT COURT
EASTERN DIBTRICT ¢
AO 245B (Rev. 06/05) Judgment in a Criminal Case ST OF WASHINGTON

Sheet 1 +
MRO 2009
UNITED STATES DISTRICT COURT _ -awasr. Larean, cLerx
Eastern District of Washington GPORANE, WASHINGTON. ~

UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL CASE
Vv.
DAVID ALLAN SIDWELL Case Number: 2:05CR00184-001
USM Number: 15748-006
John Henry Browne
Defendant’s Attorney
THE DEFENDANT:

UW pleaded guilty to count(s) 1, 2, and 3 of the Superseding Indictment

CO pleaded nolo contendere to count(s)
which was accepted by the court.

Oi was found guilty on count(s)
after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section Nature of Offense Offense Ended Count
21 U.S.C. § 963 Conspiracy to Import 1,000 Kilograms or More of Marijuana 04/30/04 18
21 U.S.C. § 846 Conspiracy to Distribute 1,000 Kilograms or More of Marijuana 04/30/04 2S
31 U.S.C. § 5332 & Attempted Bulk Cash Smuggling 02/17/03 38

18 U.S.C. § 2
The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to

the Sentencing Reform Act of 1984.
(i The defendant has been found not guilty on count(s)
ef Count(s) 4 wf is - [1 are dismissed on the motion of the United States.

It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

$/5/2009
Date of Imposition of Judgment
LZ
Signature of Judge
Honorable Wm. Fremming Nielsen Senior Judge, U.S. District Court
Name and Title of Judge
ee
Pay 5 2079
Date / ,
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AO 245B — (Rev. 06/05) Judgment in Criminal Case
Sheet 2 — Imprisonment

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DEFENDANT: DAVID ALLAN SIDWELL
CASE NUMBER: 2:05CR00184-001

IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of: 40 Months

As to each Count to run CONCURRENTLY to one another and with credit for time served.

vw The court makes the following recommendations to the Bureau of Prisons:

That Defendant be designated to either Taft or Lompoc to serve his incarceration.

Ww The defendant is remanded to the custody of the United States Marshal.

C1 The defendant shall surrender to the United States Marshal for this district:
O at Oam O pm _ on
Os asnotified by the United States Marshal.

(0 The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
0 sbefore 2 p.m. on

O ss asnotified by the United States Marshal.
1 = asnotified by the Probation or Pretrial Services Office.

RETURN
I have executed this judgment as follows:
Defendant delivered on to
at , with a certified copy of this judgment.
UNITED STATES MARSHAL
By

DEPUTY UNITED STATES MARSHAL
Case 2:05-cr-00184-WFN ECF No. 70 _ filed 05/06/09 PagelD.259 Page 3 of 6

AO 245B — (Rev. 06/05) Judgment in a Criminal Case
Sheet 3 — Supervised Release

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DEFENDANT: DAVID ALLAN SIDWELL
CASE NUMBER: 2:05CR00184-001

SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of : 5 Years

On both Counts 1 and 2; 3 Years on Count 3; all to rum CONCURRENTLY to one another.

The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.

The defendant shall not commit another federal, state or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.

(1 The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of

future substance abuse. (Check, if applicable.)

The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
student, as directed by the probation officer. (Check, if applicable.)

Oo ORs

The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.

The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

STANDARD CONDITIONS OF SUPERVISION

1) _ the defendant shall not leave the judicial district without the permission of the court or probation officer;

2) the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
each month;

3) the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
4) the defendant shall support his or her dependents and meet other family responsibilities;

5) the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
acceptable reasons;

6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;

7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;

8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;

9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
felony, unless granted permission to do so by the probation officer;

10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
contraband observed in plain view of the probation officer;

11) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;

12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
permission of the court; and

13) asdirected by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal
record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
defendant's compliance with such notification requirement.
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AO 245B (Rev. 06/05) Judgment in a Criminal Case
Sheet 3C — Supervised Release
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DEFENDANT: DAVID ALLAN SIDWELL
CASE NUMBER: 2:05CR00184-001

SPECIAL CONDITIONS OF SUPERVISION

14) You are prohibited from returning to the United States without advance legal permission from the United States Attorney General
or his designee. Should you reenter the United States, you are required to report to the probation office within 72 hours of reentry.

15) You shall contribute 10% of your income while on supervised release to any unpaid portion of the Special Assessment. The
United States Probation Office may petition the Court on your behalf to modify this condition if it presents an undue financial hardship.
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AO 245B — (Rev. 06/05) Judgment in a Criminal Case
_ Sheet 5 — Criminal Monetary Penalties

Judgment — Page 6

DEFENDANT: DAVID ALLAN SIDWELL
CASE NUMBER: 2:05CR00184-001

CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

Assessment Fine Restitution
TOTALS $300.00 $0.00 $0.00
(1 The determination of restitution is deferred until . An Amended Judgment in a Criminal Case (AO 245C) will be entered
after such determination.

( The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
the priority order or percentage vayment coluran below. However, pursuant to 18 USC. § 36640 yall nonfederal victims must be paid

before the United States is paid.
Name of Payee Total Loss* Restitution Ordered Priority or Percentage
TOTALS $ 0.00 $ 0.00

C1 Restitution amount ordered pursuant to plea agreement $

(1 =‘ The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

(C1 The court determined that the defendant does not have the ability to pay interest and it is ordered that:
LO #the interest requirement is waived forthe [[] fine ([(] restitution.

OO the interest requirement forthe J fine 1 restitution is modified as follows:

* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
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AOQ245B —_ (Rev. 06/05) Judgment in a Criminal Case
Sheet 6 — Schedule of Payments

DEFENDANT: DAVID ALLAN SIDWELL
CASE NUMBER: 2:05CR00184-001

SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

A (1 Lump sum payment of $ due immediately, balance due

C1 not later than ,or
C1 sin accordance oc OD, O Eo [CT Fbelow; or

vw Payment to begin immediately (may be combined with (JC, OOD, or WF below); or

C (OF Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of
(e.g., months or years), to commence (e.g., 30 or 60 days) after the date of this judgment; or

D [0 Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of
(e.g., months or years), to commence (e.g., 30 or 60 days) after release from imprisonment to a
term of supervision; or

E [7 Payment during the term of supervised release will commence within (e.g., 30 or 60 days) after release from
imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F wy Special instructions regarding the payment of criminal monetary penalties:

Defendant shall participate in the Inmate Financial Responsibility Program. Defendant shall contribute 25% of his monthly
earnings while he is incarcerated. .

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, ayment of criminal monetary penalties is due during
imprisonment. All criminal mon penalties, except those payments made through e Federal Bureau of Prisons’ Inmate Financi:
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

CJ Joint and Several

Case Numbers (including defendant number) and Defendant and Co-Defendant Names, Total Amount, Joint and Several Amount,
and corresponding payee, if appropriate.

Oo

The defendant shall pay the cost of prosecution.

O

The defendant shall pay the following court cost(s):

(1 sThe defendant shall forfeit the defendant's interest in the following property to the United States:

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) a ties, and By os including cost Pf 1 reetie and nrerest, Prinerp
